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____________________________________________________________________________
                                                     SO ORDERED,




                                                     Judge Jason D. Woodard
                                                     United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________

                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                        CHAPTER 13 CASE NO:
YOLANDA STEWART                                                                      19-11188-JDW

          AMENDED ORDER DIRECTING EMPLOYER TO WITHHOLD DEDUCTIONS
            FROM PAY AND DIRECTING PAYMENT TO CHAPTER 13 TRUSTEE
        The above-named Debtor(s) filed a Chapter 13 Petition on 03/20/2019, which subjects all of
the Debtor’s wages, salary, or commissions to the jurisdiction of the Court while this case is pending.
The employer of the Debtor is subject to orders from this Court directing the employer to withhold
and remit a certain amount of the Debtor’s wages to the Chapter 13 Trustee pursuant to 11 U.S.C. §
1325(c) in order to fund the Chapter 13 plan.

       IT IS THEREFORE ORDERED, that the employer of the Debtor, identified below, is
hereby directed to pay to the Chapter 13 Trustee the sum of $176.00 Weekly commencing the
next pay period following receipt of this Order.
      CARRIER CORPORATION
      9 FARM SPRINGS ROAD
      MAIL STOP 541-81
      FARMINGTON, CT 06032-

        IT IS FURTHER ORDERED, that CARRIER CORPORATION is hereby directed to withhold
said sum from the Debtor’s wages, after deducting the amount necessary to pay withholding and
Social Security taxes, pensions, union dues (if any), retirement contributions, or child support
deductions, and to remit said sum to:

REMITTANCE BY CHECK                            REMITTANCE BY ELECTRONIC PAYMENT
Locke D. Barkley, Chapter 13 Trustee           TFS EMPLOYER PAY
P.O. Box 1859                                  https://www.tfsbillpay.com/employer
Memphis, TN 38101                              TFS Bill Pay: 888-800-0294

        IT IS FURTHER ORDERED, that CARRIER CORPORATION shall immediately cease and
discontinue withholding and remitting any funds to pay any wage garnishments.       CARRIER
CORPORATION shall withhold and remit said sum to the Chapter 13 Trustee until further order of
this Court.

                                       ##END OF ORDER##
